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                                                February 4, 2020

Andrew R. Szekely
Sedira Banan
Office of the Federal Public Defender
 for the District of Maryland
100 S. Charles Street, Tower II, 9th Floor
Baltimore, Maryland 2120 I

            Re:         United States v. Deriyana Sharnigue Woodson, GLR 17-cr-00658

Dear Counsel:

        This letter, together with the Sealed Supplement, confirms the plea agreement (this
"Agreement") that has been offered to your client, Deriyana Sharnique Woodson (hereinafter
"Defendant"), by the United States Attorney's Office for the District of Mo/Yland ("this Office").
If the Defendant accepts this offer, please have the Defendant execute it in the spaces provided
below. If this offer has not been accepted by January 28,2020, it will be deemed withdrawn. The
terms of the Agreement are as follows:

                                              Offense of Conviction

        I.     The Defendant agrees to plead guilty to Count Two ofthe Superseding Indictment,
which charges the Defendant with Interstate Domestic Violence resulting in Permanent
Disfigurement or Life Threatening Bodily Injury to the Victim, in violation of 18 U.S.C. ~
2261(a)(I) and (b)(2). The Defendant admits that she is, in fact, guilty of the offense and will so
advise the Court.

                                             Elements of the Offense

        2.      The clements of the offense to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows: That on or about the time
alleged in the Superseding Indictment, in the District of Maryland:

                    a. The Defendant was a spouse, intimate partner, or dating partner of the victim;

            b. The Defendant traveled in interstate commerce,                        with the intent to kill, injure,
harass, or intimidate a spouse,_ intimate partner, or dating partner;



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          c. In the course of, as a result of, such travel, the Defendant commined or attempted
to commit a crime of violence against the victim.

            d. The Defendant's           acts resulted   in life-threatening   bodily   injury, or permanent
disfigurement.

                                                    Penalties

         3.     The maximum penalties provided by statute for the offense to which the Defendant
is pleading guilty are as follows:

                               Minimum         Maximum           Supervised        Maximum        Special
 Count        Statute                                                                Fine       Assessment
                                Prison          Prison            Release
            18 U.S.c.                                                              $250,000         $100
  One                              nla          20 years            3 years
            S2261(a)

                 a.     Prison: If the Court orders a term of imprisonment,             the Bureau of Prisons
has sole discretion to designate the institution at which it will be served.

               b.      Supervised Release: If the Court orders a term of supervised release, and
the Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

                    c.        Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.c.       SS 3663,   3663A, and 3664.

                 d.      Payment: If a fine or restitution is imposed, it shall be payable immediately,
unless the Coul1 orders otherwise under 18 U.S.C. S 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

               e.      Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, andlor a money judgment equal to the value of the
property subject to forfeiture.

                f.      Collection o/Debts: If the Court imposes a fine or restitution, this Office's
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (I) the full amount of the fine or restitution is
nonetheless due and owing immcdiately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control.     Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant's ability to pay,
and to request and review the Defendant's federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

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                                         Waiver of Rights

        4.      The Defendant understands that by entering into this Agreement,       the Defendant
surrenders certain rights as outlined below:

                a.     If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

                 b.      If the Defendant elected ajury trial, the jury would be composed of twelve
 individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
 would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

                c.    If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government's witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

               d.      The Defendant would have the right to testify in the Defendant's own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant's decision not to testify.

                e.      If the Defendant were found guilty after a trial, the Defendant would have
the right to appeal the verdict and the Court's pretrial and trial decisions on the admissibility of
evidence to see ifany errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court's decisions.

               f.      By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the "Waiver of Appeal" paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Court's questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be
admissible against the Defendant during a trial except in a criminal proceeding for perjury or false
statement.

                g.      If the Court accepts the Defendant's plea of guilty, the Defendant will be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further



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trial or proceeding of any kind in thc above-referenced      criminal case, and the Court will find the
Defendant guilty.

                  h.     By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization.    The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant's immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United Statcs.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant's attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

                                  Advisorv Sentencing Guidelines Applv

        5.      The Defendant understands that the Court will detcrmine a sentencing guidelines
range for this case (henceforth the "advisory guidelines range") pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. S 3551-3742 (excepting 18 U.S.C. S 3553(b)(I) and 3742(e)) and 28
U.S.c. SS 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

                               Factual and Advisory Guidelines Stipulation

        6.     This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein and to the following applicable
guidelines pursuant to United States Sentencing Guidelines ("U.S.S.G.")

               a.      The applicable guideline for a violation of 18 U.S.c. S 2261(a)(I) is
U.S.S.G. S 2A6.2 which contains a cross-reference when the offense involved the commission of
another criminal offense as is the case here.

               b.     The offense guideline from Chapter Two. Part A (Offenses Against the
Person) that is most applicable to the other criminal offense is U.S.S.G. S 2A4.1 (Kidnapping,
Abduction, Unlawful Restraint) and the base offense level is 32.

                c.     There is an increase of 4 levels because the victim sustained pcrmanent
injury. U .S.S.G. S 2A4.1 (b)(2)(A) (Subtotal = 36).

                   d.       A dangerous    weapon was used resulting    in a further 2 level increase.
U.S.S.G.     S 2A4.1    (Subtotal = 38).

                   e.       The adjusted offense level for the count of conviction ("Group One") is 38.




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                f.      This agreement contains a stipulation that specifically establishes the
commission of additional offenses; specifically, the unlawful confinement and assault on a second
victim and the assault of a third victim. Under the multiple count rules contained in Chapter Three,
these offenses shall be treated as separate groups (Group Two and Three). For Group Two, the
base offense level is 32 and a dangerous weapon was used warranting a 2 level increase (U.S.S.G.
S 2A4.1) (Total = 34). For Group Three (Assault), the base offense level is 7 (U.S.S.G. S 2A2.)
because a dangerous weapon was possessed.

               g.     Two points are added to Group One because Group Two is four levels less
serious and Group Three is 9 or more levels less serious than Groups One and Two. (SUBTOTAL:
40). U.S.S.G. S 3D 1.4.

                h.       This Office does not oppose a 2-level reduction in the Defendant's adjusted
offense level pursuant to U.S.S.G. S 3EI.I(a), based upon the Defendant's apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant's criminal
conduct. This Office agrees to make a motion pursuant to U.S.S.G. S 3E 1.1(b) for an additional
I-level decrease in recognition of the Defendant's timely notification of the Defendant's intention
to enter a plea of guilty. This Office may oppose any adjustment for acceptance of responsibility
under U.S.S.G. S 3EI.I(a) and may decline to make a motion pursuant to U.S.S.G. S 3EI.I(b), if
the Defendant: (i) fails to admit each and every item in the factual stipulation; (ii) denies
involvement in the offense; (iii) gives conflicting statements about the Defendant's involvement
in the offense; (iv) is untruthful with the Court, this Office, or the United States Probation Office;
(v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in any criminal
conduct between the date of this Agreement and the date of sentencing; (vii) attempts to withdraw
the plea of guilty; or (viii) violates this Agreement in any way.

                   I.   Accordingly, the adjusted offense level is 37.

       7.     A pre-plea criminal history report was completed in this case and the parties believe
the Defendant is a Criminal History Category II.

         8.      Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

                                       Rule II ecl ell eC) Plea

         9.     The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
II(c)(I)(C) that a sentencing range of 10 to 20 years' imprisonment in the custody of the Bureau
of Prisons is the appropriate disposition of this case taking into consideration the nature and
circumstances of the offense, thc Defendant's personal characteristics and criminal history, and all
of the other factors set forth in 18 U.s.c. S 3553(a). This Agreement does not affect the Court's
discretion to impose any lawful fine or to set any lawful conditions of probation or supervised
release. In the event that the Court rejects this Agreement, except under the circumstances noted
below, either party may elect to declare the Agreement null and void. Should the Defendant so
elect, the Defendant will be afforded the opportunity to withdraw her plea pursuant to the
provisions of Federal Rule of Criminal Procedure 11(c)(5). The parties agree that if the Court
finds that the Defendant cngaged in obstructive or unlawful behavior and/or failed to acknowledge

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personal responsibility as set forth herein, neither the Court nor the Government will be bound by
the specific sentence contained in this Agreement, and the Defendant will not be able to withdraw
her plea.

                                      Obligations of the Parties

        10.    This Office and the Defendant reserve the right to bring to the Court's attention all
information with respect to the Defendant's background, character, and conduct that this Office or
the Defendant deem relevant to sentencing, including the conduct that is the subject of the
Indictment. At the time of sentencing on the Superseding Indictment, this Office will move to
dismiss any remaining counts of the Superseding Indictment and the original Indictment against
the Defendant.

                                          Waiver of Appeal

       II.     In exchange for the concessions made by this Office and the Defendant             in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

                 a.     The Defendant knowingly waives all right, pursuant to 28 U.S.c. S 1291 or
any other statute or constitutional provision, to appeal the Defendant's conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant's conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s), to the extent that such
challenges legally can be waived.

                 b.     The Defendant and this Office knowingly and expressly waive all rights
conferred by 18 U.s.c. S 3742 to appeal whatever sentence is imposed (including any term of
imprisonment, fine, term of supervised release, or order of restitution) for any reason (including
the establishment of the advisory sentencing guidelines range, the determination of the
Defendant's criminal history, the weighing of the sentencing factors, and any constitutional
challenges to the calculation and imposition of any term of imprisonment, fine, order of forfeiture,
order of restitution, and term or condition of supervised release).

                c.      The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

                                               Forfeiture

          12.    The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant's sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense, substitute assets, and/or a money judgment equal to the value of the property derived
from, or otherwise involved in, the offense.           Specifically, but without limitation on the
Government's right to forfeit all property subject to forfeiture as permitted by law, the Defendant
agrees to forfeit to the United States all of the Defendant's right, title, and interest in the following
items that the Defendant agrees constitute money, property, and/or assets derived from or obtained
by the Defendant as a result of, or used to facilitate the commission of, the Defendant's illegal
activities: one Apple MacBook Laptop Computer, one ZTE cell phone and one caliber 9 mm Luger

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"Ruger" model     "LC9"    semi-automatic    pistol bearing   serial number    NRA 100975 and one
magazine.

         13.    The Defendant agrees to consent to the entry of orders offorfeiture for the property
described herein and waives the requirements of Federal Rules of Criminal Procedure II(b)(I)(1),
32.2, and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding
forfeiture during the change of plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment.

          14.     The Defendant agrees to assist fully in the forfeiture of the above property. The
 Defendant agrees to disclose all assets and sources of income, to consent to all requests for access
 to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.

         15.    The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agrecment on any grounds, including any and all constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and will
not assist any third party with any challenge or review or any petition for remission of forfeiture.

                                             Restitution

         16.    The Defendant agrees that, under Title 18 United States Code, Sections 3663A,
2259, and 3771, the Victim is entitled to mandatory restitution. The restitution could include the
medical bills, compensation for time missed from work, as well as counseling costs (including
travel), if any such costs exist or are reasonably projected. 18 U.S.c. ~~ 2259, 3663A(b)(2) and
(4). The Dcfendant further agrees that she will fully disclose to the probation officer and to the
Court, subject to the penalty of pcrjury, all information, including but not limited to copies of all
relevant bank and financial records, regarding the current location and prior disposition of all funds
obtained as a result of the criminal conduct set forth in the factual stipulation. The Defendant
further agrees to take all reasonable steps to retrieve or repatriate any such funds and to make them
available for restitution. If the Defendant does not fulfill this provision, it will be considered a
material breach of this plea agreement, and this Office may seek to be relieved of its obligations
under this agreement. The Defendant understands that an unanticipated amount of a restitution
order will not serve as grounds to withdraw Defendant's guilty plea. If the Defendant is
incarcerated, the defendant agrees to participate in the Bureau of Prisons Inmate Financial
Responsibility Program.




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                                 Collection of Financial Obligations

          17.   The Defendant expressly authorizes the U.S. Attorney's Office to obtain a credit
report in order to evaluate the defendant's ability to satisfy any financial obligation imposed by
the Court. In order to facilitate the collection of financial obligations to be imposed in connection
with this prosecution. the Defendant agrees to disclose fully all assets in which the Defendant has
any interest or over which the defendant exercises control, directly or indirectly, including those
held by a spouse, nominee or other third party. The Defendant will promptly submit a completed
financial statement to the United States Attorney's Office, in a form this Office prescribes and as
it directs. The Defendant promises that the financial statement and disclosures will be complete,
accurate and truthful, and understands that any willful falsehood on the financial statement will be
a separate crime and may be punished under 18 U.S.C. S 1001 by an additional five years'
incarceration and fine.

                                       No Contact with Victim

         18.     Whilc incarccrated and throughout the entire term of her imprisonment, the
Defendant will not (a) make any contact with the Victim as identified in the attached Statement of
Facts, or the Victim's immediate family, and (b) take any steps whatsoever to locate the Victim.
The Defendant agrees to the entry of any Protective Order regarding any contact with the Victim
or immediate family that may be sought. The Defendant specifically agrees that this provision shall
continue following her release and will be part of any supervised release conditions ordered by the
Court at the time of sentencing. If the Defendant does not fulfill this provision, it will be considered
a material breach of this plea agreement, and this Office may seek to be relieved of its obligations
under this agreement. The Defendant waives and agrees to waive any right to challenge any
prosecution based on the statute of limitations or double jeopardy and knowingly and voluntarily
agrees to toll the limitations period through the end of her incarceration and supervised release.

                        Defendant's   Conduct Prior to Sentencing and Breach

         19.     Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. S 3C 1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation ollicer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

        20.     If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule II(c)(I)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule II of the Federal Rules of Criminal
Procedure. A determination that this Ollice is released from its obi igations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the

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Defendant may not withdraw the Defendant's guilty plea-even            if made pursuant to Rule
1 I(c)(I)(C)-ifthe   Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule Il(c)(I)(C).

                                        Entire Agreement

        21.      This letter, togcther with the Sealed Supplement, constitutes the complete plea
agrcement in this case. This letter, together with the Sealed Supplement, supersedes any prior
understandings, promises, or conditions between this Office and the Defendant. There are no other
agreements, promises, undertakings, or understandings betwcen the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will bc effective unless in writing, signed by all parties and approved by the Court.

        If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

                                                     Very truly yours,




        I have read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I undcrstand it and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and 1 do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.


~ / (;/ 'd-,')
Date

        We are the Defendant's attorneys. We have carefully reviewed every part of this
Agreement, including the Sealed Supplement with the Defendant. The Defendant advises us that
the Defendant understands and accepts its terms. To our knowledge, the Defendant's decision to
enter into this Agreement is an informed and voluntary one.


 '} In/rio
Date




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                      ATTACHMENT           A-STIPULATION        OF FACTS

         The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven thefollowingfacts beyond a reasonable doubt. The undersigned parties
also stipulate and agree thatthefollowingfacts   do not encompass all of the evidence that would
have been presented had this mailer proceeded to trial.

         Defendant Deriyana Sharnique WOODSON, age 24, was a resident of Orlando, Florida.
On July 30, 2017, at approximately 8:28 p.m., Baltimore County Police Department (BCPD)
officers responded to a residence in Halethorpe, Maryland in reference to a home invasion.
While at the residence, officers learned that WOODSON abducted VICTIM, a 17-year-old
female, living at the Halethorpe residence, at knife and gunpoint. On July 31, Howard County
Police recovered VICTIM and arrested WOODSON at a Holiday Inn in Elkridge, Maryland.

         In May 2017, VICTIM lived with her father in Florida. VICTIM met WOODSON,
through Facebook and the two began communicating over FaceTime, as well as through
Snapchat, Twitter, Instagram, TextNow and other free messaging applications.  VICTIM
eventually met WOODSON in person and left her Florida home to be with WOODSON.
VICTIM was a dating partner of WOODSON. According to police reports, VICTIM's parents
reported VICTIM missing on or about July 15, 2Q 17. From on or about July 15 through July 21,
VICTIM stayed with WOODSON in a Florida hotel. WOODSON knew VICTIM was 17 years
old.

        On July 21,2017, VICTIM left      Florida alone on a Greyhound bus to her mother's home
in Maryland. VICTIM left WOODSON            so that WOODSON would not get in trouble with the
police. VICTIM planned to finish high     school in Maryland then return to Florida and be with
WOODSON. VICTIM communicated              with WOODSON using the WiFi on the Greyhound bus
through Snapchat and other free texting    applications.

        However, WOODSON became very controlling once VICTIM arrived in Maryland.
WOODSON demanded that VICTIM remain in the home and not see any friends. As a result,
VICTIM stopped responding to WOODSON's requests for communication.       WOODSON got
upset with VICTIM and insisted VICTIM come back to Florida. WOODSON excessively called
the house phone at the Halethorpe residence where VICTIM lived with her mother and
grandmother. VICTIM's mother and a friend of VICTIM told WOODSON to stop calling.

        VICTIM's mother reported WOODSON's calls to the police in Florida. An officer with
the Kissimmee Police Department Major Crimes Unit wrote WOODSON a letter demanding
WOODSON to "cease all communication attempts" with VICTIM and warning that, "felony
charges might follow" based on WOODSON's "history."        Upon receiving the written warning
from the police, WOODSON posted the letter in redacted form on her Twitter account on or
about July 28. WOODSON commented on the post words to the effect, "How are you trying to
put me in jail when my probation is over only 3 days away."

        WOODSON then traveled from Florida to Maryland, arriving on or about July 30, 2017.
Between 8:00 and 8:30 p.m. on July 30, WOODSON entered the Halethorpe residence where
VICTIM lived. VICTIM's grandmother was home alone in the basement when WOODSON
arrived. The grandmother, now deceased, was 79 years old at the time. WOODSON duct taped
the grandmother's hands together. When WOODSON heard VICTIM and a friend ("H") enter
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the residence, WOODSON confronted the women armed with a handgun and kitchen knife.
WOODSON pointed the gun at "1-1"and told "H" to go down to the basement. WOODSON then
held the gun to VICTIM's head and ordered VICTIM into WOODSON's car. WOODSON
attacked VICTIM by stabbing her with the knife and hitting her with the gun. At some point,
WOODSON forced VICTIM out of the car at a residential area in Howard County and the two
started running. Police later recovered WOODSON's gun and shoes in the area.

         WOODSON and VICTIM eventually ended up at the Holiday Inn in Elkridge, Maryland
on the morning of July 31. The hotel clerk called the police when she saw VICTIM's injuries.
Howard County Police Department (HCPD) officers arrived and identified VICTIM as the minor
reported missing from Halethorpe. HCI'D arrested WOODSON and transported VICTIM to the
hospital. VICTIM was treated for a left orbital floor fracture and multiple stab wounds to the
head and hands, including one eyelid.   The injury left a permanent scar on VICTIM's face.

         SCPO detectives read WOODSON her rights pursuant to Miranda and she voluntarily
waived her rights. WOODSON said she drove from Orlando, Florida to Maryland to take
VICTIM back to Florida; however, WOODSON claimed VICTIM left the Halethorpe residence
willingly and that VICTIM wished to return to Florida. WOODSON admitted to entering the
Halethorpe residence, duct taping the grandmother and having a gun and knife; she claimed the
weapons were already at the Halethorpe residence.

         VICTIM told investigators that WOODSON had at least two iPhones and that
WOODSON would contact her (VICTIM) using these devices. The ZTE phone was recovered
in WOODSON's car after the attack. Investigators executed a search warrant on the phone and it
contained a photograph of the gun and knife WOODSON used in the attack of VICTIM. The
phone also contained text messages between WOODSON and VICTIM. The messages began on
July 29 at 10:48 p.m. and WOODSON sent the last message on July 30 at 6:09 p.m. Contrary to
her statement, WOODSON's messages with VICTIM do not reflect that VICTIM asked
WOODSON to pick her up in Maryland or that VICTIM wanted to go back to Florida. Rather,
the text messages corroborate that WOODSON repeatedly contacted VICTIM and was upset
with VICTIM For example, WOODSON told VICTIM "since u (sic) been up there all u been
doing is trying to hurt me" and that it is "not ur fault u let ur mom call the cops on me. So what
you gonna do? Idk is not a answer." On July 30, WOODSON sent a long text to VICTIM about
"ignor[ing)" her, and wanting to kill herself. WOODSON later texted she wanted VICTIM to
"rot in hell".

SO STII'ULA TED:

                                             Deriyan Sharnique Woodson
                                             Defendant




~h,;m"
Andrew R. Szekely
Counsel for Defendant




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